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 1   NICOLA T. HANNA
     United States Attorney
 2   LAWRENCE S. MIDDLETON
     Assistant United States Attorney
 3   Chief, Criminal Division
     JOHN J. LULEJIAN (Cal. Bar No. 186783)
 4   Assistant United States Attorney
          1200 United States Courthouse                         _          h.Y


          312 North Spring Street                                          ",
 5
          Los Angeles, California 90012                             _- -    -
 6        Telephone: (213) 894-0721
                                                                                {--2
          Facsimile: (213) 894-0141
 7        E-mail:      John.Lulejian@usdoj.      ~V
                                                                                       ~:.

 8   Attorneys for Applicant
     UNITED STATES OF AMERICA
 9

10                          UNITED STATES DISTRICT COURT

11                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   REQUEST FROM THE ITALIAN                No. C   i x .~ ~  ~       w
     REPUBLIC FOR ASSISTANCE IN A                   ~~
13   CRIMINAL MATTER                         EX PARTE APPLICATION FOR ORDER
                                             APPOINTING COMMISSIONER; EXHIBIT
14

15

16        Applicant United States of America hereby applies to this Court

17   ex parte for an order, pursuant to the Treaty Between the United

18   States of America and the Italian Republic on Mutual Assistance in

19   Criminal Matters, U.S.-Italy, Nov. 9, 1982, S. Treaty Doc. No. 98-25

20   (1984), and the Instrument as contemplated by Article 3(2) of the

21   Agreement on Mutual Legal Assistance Between the United States of

22   America and the European Union signed 25 June 2003, as to the

23   application of the Treaty Between the United States of America and

24   the Italian Republic on Mutual Assistance in Criminal Matters signed

25   9 November 1982, U.S.-Italy, May 3, 2006, S. Treaty Doc. No. 109-13

26   (2006), as well as 18 U.S.C. § 3512, and its own inherent power,

27   appointing Assistant United States Attorney John J. Lulejian as a

28
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 1   Commissioner of the Court for the purpose of obtaining evidence

 2   sought by the Italian Republic ("Italy").        This application is made

 3   pursuant to a Request for Legal Assistance in a Criminal Matter from

 4   Italy and is based on the aforementioned treaty and the attached

 5   Memorandum of Points and Authorities and Exhibit.

 6   DATED:   April 30, 2018

 7                                           Respectfully submitted,

 8                                           NICOLA T. HANNA
                                             United States Attorney
 9

10                                           LAWRENCE S. MIDDLETON
                                             Assistant United States Attorney
11                                           Chief, Criminal Division

12
                                            /s/ John J. Lulejian
13
                                            JOHN J. LULEJIAN
14                                          Assistant United States Attorney

15                                           Attorneys for Applicant
                                             UNITED STATES OF AMERICA
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 1                        MEMORANDUM OF POINTS AND AUTHORITIES

 2   I I.   BACKGROUND

 3          A.   STJNIIKARY

 4          Pursuant to the Treaty Between the United States of America and

 5    the Italian Republic on Mutual Assistance in Criminal Matters, U.S.-

 6    Italy, Nov. 9, 1982, S. Treaty Doc. No. 98-25 (1984), and the

 7    Instrument as contemplated by Article 3(2) of the Agreement on Mutual

 8    Legal Assistance Between the United States of America and the

 9   European Union signed 25 June 2003, as to the application of the

10   , Treaty Between the United States of America and the Italian Republic

11   on Mutual Assistance in Criminal Matters signed 9 November 1982,

12   U.S.-Italy, May 3, 2006, S. Treaty Doc. No. 109-13 (2006),

13   (collectively the "Treaty"; copy of the Treaty and related documents

14   attached hereto as Exhibit 1), the Government of the Italian Republic

15   ("Italy") hay asked the United States for assistance in connection

16    with a criminal investigation underway in Italy.         The Treaty provides

17   that when necessary, the United States "may require that evidence and

18   information provided, and information derived therefrom, be kept

19   confidential in accordance with state conditions."          See Exh. 1,

20   Treaty Art. 8(1).        Further, the United States "may request that the

21   application for assistance and the granting of such assistance be

22   kept confidential."       See Exh. 1, Treaty Art. 8(2)      In this case,

23   however, confidentiality is not necessary as Italy has not asked the

24   United States for confidentiality.

25          Applicant United States of America respectfully requests that

26   Assistant United States Attorney John J. Lulejian be appointed a

27   Commissioner of the Court to carry out portions of the request

28   applicable to this judicial district.
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 1        B.    FACTS

 2        The facts of the request may be summarized as follows:

 3        The Rome Prosecutor's Office is prosecuting ELPHIAS TARS

 4   BIASCIUCCI for sexual assault against L.P.M. ("the victim"), on the

 5   night of October 30, 2008, in Rome.        The victim filed a police

 6   complaint on November 5, 2008.

 7        According to Italian authorities, BIASCIUCCI and Francesco Bordi

 8   accompanied the victim and her friend, C.A.C., home from "Escopazza,"

 9   a disco in Rome, Italy.     Both the victim and C.A.C. were inebriated.

10   [nThen they reached the victim's home, while C.A.C. was passed out on a

11   bed, BIASCIUCCI sexually abused the victim as she slipped in and out

12   of consciousness.    When the victim was conscious, she repeatedly

13   expressed her lack of consent to the sexual contact with BIASCUCCI.

14   In 2012, Bor~i was tried separately and acquitted for the crime for

15   which BIASCUCCI is being prosecuted.

16        Italian authorities believe that Bordi currently resides in

17   Sherman Oaks, California.

18        C.   ASSISTANCE REQUESTED

19        With respect to the Central District of California, the request

20   seeks assistance to secure by video teleconference, the testimony of

21   Francesco Bordi in an evidentiary hearing.        Also, the requests asks

22   United States authorities to serve certain documents related to the

23   case on Bordi.

24        Applicant United States of America asks that Assistant United

25   States Attorney John J. Lulejian be empowered to issue compulsory

26   process to render that assistance as a Commissioner of this Court.

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 1 III.         DISCUSSION

 2 i            A.   THE ORDER SOUGHT IS APPROPRIATE TO ENABLE THE UNITED STATES

 3                   TO FULFILL ITS TREATY OBLIGATIONS

 4                   1.   The Treaty

 5              The United States is seeking an order appointing a Commissioner

 6     to execute the request from Italy.          A treaty constitutes the law of

 7     the land.      U.S. Const. Art. VI.    The provisions of a treaty stand on

 8     equal footing with acts of Congress and are binding on the courts.

 9     Asakura v. City of Seattle, 265 U.S. 332, 341 (1924), amended, 44 S.

10     Ct. 634 (1924); United States v. Schooner Peggy, 5 U.S. (1 Cranch)

11     1 103.    To the extent that self-executing provisions of a treaty are

12     inconsistent with a preexisting statutory provision, the treaty

13     supersedes the statute.        Zschernig v. Miller, 389 U.S. 429, 440-441

14     (1968); In re Premises Located at 840 140th Ave. NE, Bellevue, Wash.,

15     634 F.3d 557, ~~8 (9th Cir. 2011); In re Erato, 2 F."id 11, 15 (2nd

16     Cir. 1993).

17              The Treaty obligates the United States and Italy "to afford each

18     other, in accordance with the provisions of this Treaty, mutual

19     assistance in criminal investigations and proceedings."           See Exh. 1,

20     Treaty, Art. 1(1).        The United States and Italy entered into the

21     Treaty for the purpose of improving the effectiveness of the law

22     enforcement authorities of both states in the investigation and

23     prosecution of crime.        See Exh. 1, Letter of Transmittal of Treaty

24     from the White House to the Senate of the United States,

25     June 11, 1984.        The Treaty obligates each party to provide assistance

26     to the other in investigations and prosecutions of offenses, and in

27     proceedings related to criminal matters.         See Exh. 1,

28     Art. 1(1 bis)(a)        See also In re Commissioner's Subpoenas, 325 F.3d
                                               3
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 1   1287, 1290 (11th Cir. 2003).      Each party contemplated that it would

 2   provide the other with assistance generally comparable to that which

 3   is available to its own law enforcement authorities, which assistance

 4   includes taking testimony or statements of persons, providing

 5   documents and other evidence, and immobilizing assets.           See Exh. 1,

 6   Treaty, Art. 1(2)      See also Barr v. U. S. Dep t of Justice, 645 F.

 7   Supp. 235, 237 (E.D.N.Y. 1986), aff'd, 819 F.2d 25 (2d Cir. 1987).

 8        The Treaty and 18 U.S.C. ~ 3512 empower federal courts to

 9   execute treaty requests in order to comply with the United States'

10   treaty obligations, including through the use of compulsory measures.

11   Article 4 provides as follows:

12        The competent officials of the Requested State shall do

13        everything in their power to execute a request.          The courts

14        of the Requested State shall issue subpoenas, search

15        warrants or any other process necessary in the ~~,ecution of

16        the request.

17   Exh. 1, Treaty, Art. 4(1)       The Treaty further provides as follows:

18        The Requested State shall permit the presence of an

19        accused, counsel for he accused, and persons charged with

20        the enforcement of the criminal laws to which the request

21        relates.

22   Exh. 1, Treaty, Art. 14(3).

23        The Treaty imposes no dual criminality requirement as a

24   precondition for providing assistance.        See generally Exh. 1, Treaty,

25   art. 1.   Consequently, each state is obligated to provide assistance

26   without regard to whether the conduct under investigation or

27   prosecution would constitute an offence under the laws of the

28
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 1   Requested State.     See Exh. 1, Letter of Submittal of Treaty to the

 2   President from the Department of State, June 1, 1984.

 3         The Treaty contains a non-exhaustive list of assistance that

 4   must be rendered upon proper request, which includes "locating

 5   persons," "producing documents and records," and "taking testimony."

 6   Exh. 1, Treaty, Art. 1(2).       It also includes "[o]ther types of

 7   assistance          to the extent such assistance is not inconsistent

 8   with the laws of the Requested State."        Id.   The Treaty makes clear

 9   that the requirement that assistance be rendered is mandatory and

10   that the parties "shall provide mutual assistance."           Id., Art. 1.

11               2.   Statutory Authority

12         The Treaty is designed to be self-executing and requires no

13   , implementing legislation.    See Exh. 1, Letter of Submittal of Treaty

14   to the President from the Department of State, June 1, 1984.            See

15   also In re Premises Located at 840 140th Ave. NE, Bell.Pvue, Wash.,

16   634 F.3d at 568.     However, because the procedural provisions in many

17   treaties are minimal, in the past, federal courts routinely utilized

18   procedures authorized by 28 U.S.C. ~ 1782 (the "commissioner"

19   process) to execute treaty requests from foreign authorities.            Id.

20   Substantive federal law regarding searches, seizures, and other

21   compulsory processes further grounded the execution of such

22   assistance requests.

23         On October 19, 2009, the President signed the Foreign Evidence

24   Request Efficiency Act of 2009, Pub. Law No. 111-79, 123 Stat. 2086,

25   which enacted 18 U.S.C. ~ 3512.       Section 3512 explicitly authorizes a

26   federal court to-

27         issue such orders as may be necessary to execute a request

28         from a foreign authority for assistance in the
                                             5
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 1          investigation or prosecution of criminal offenses, or in

 2          proceedings related to the prosecution of criminal

 3          offenses, including proceedings regarding forfeiture,

 4          sentencing, and restitution.

 5     Section 3512 directly empowers federal courts to execute such

 6     requests and separately codifies under Title 18 the longstanding

 7     practice and procedures employed by the United States and the federal

 8     courts to execute requests by foreign authorities for assistance to

 9     the fullest extent possible under United States law.          Congress

10     enacted Section 3512 to make it "easier for the United States to

11     respond to these requests by allowing them to be centralized and by

12     putting the process for handling them within a clear statutory

13     scheme."   155 Cong. Rec. 56807-01 (2009) (Statement of Sen.

14     Whitehouse).

15          B.    EXECUTIQl~] OF FOREIGN REQUESTS FOR ASSISTANCE i~'1vDER THE

16                TREATY AND SECTION 3512

17                1.   Authorization of the Application to this Court

18          Section 3512 provides,

19          Upon application, duly authorized by an appropriate

20          official of the Department of Justice, of an Attorney for

21          the Government, a Federal judge may issue such orders as

22          may be necessary to execute a request from a foreign

23          authority for assistance in the investigation and

24          prosecution of criminal offenses, or in proceedings related

25 '        to the prosecution of criminal offenses, including

26          proceedings regarding forfeiture, sentencing and

27          restitution.

28     For purposes of Section 3512, an application is "duly authorized by
                                              6
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 1   an appropriate official of the Department of Justice" when the Office

 2   of International Affairs of the Department of Justice's Criminal

 3   Division has reviewed and authorized the request and is executing the

 4   request itself or has delegated the execution to another attorney for

 5   the government.     Because of the facts and circumstances set forth in

 6   the request, Section 3512(c) authorizes filing the instant

 7   application in the Central District of California.l         Accordingly, the

 8   request has been referred to this district for execution.

 9              2.   Foreign Authority Seeking Assistance Within Section

10                   3512 and the Treaty

11        As to the "foreign authority" making the request, Section

12 ~ 3512(h) provides,

13        The term "foreign authority" means a foreign judicial

14        authority, a foreign authority responsible for the

15

16
          1 18 U.S.C. ~ 3512 provides, in relevant part:
17
          (c) Filing of requests.-- Except as provided under
18        subsection (d), an application for execution of a request
          from a foreign authority under this section may be filed--
19
               (1) in the district in which a person who may be required
20             to appear resides or is located or in which the documents
               or things to be produced are located;
21             (2) in cases in which the request seeks the appearance of
               persons or production of documents or things that may be
22             located in multiple districts, in any one of the districts
               in which such a person, documents, or things may be
23             located; or
               (3) in any case, the district in which a related Federal
24             criminal investigation or prosecution is being conducted,
               or in the District of Columbia.
25
          (d) Search warrant limitation. -- An application for
26        execution of a request for a search warrant from a foreign
          authority under this section, other than an application for
27        a warrant issued as provided under section 2703 of this
          title, shall be filed in the district in which the place or
28        person to be searched is located.

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 1        investigation or prosecution of criminal offenses or for

 2        proceedings related to the prosecution of criminal

 3        offenses, or an authority designated as a competent

 4        authority or central authority for the purpose of making

 5        requests for assistance pursuant to an agreement or treaty

 6        with the United States regarding assistance in criminal

 7        matters.

 8        In this matter the Minister of Justice is the designated Central

 9   Authority in Italy for requests made pursuant to the Treaty.           Exh. 1,

10   Treaty, Art. 2(2).

11        As evidenced by the request itself and confirmed in the

12   authorization process and again by the undersigned, consistent with

13   Section 3512(a)(1), the foreign authority seeks assistance in the

14   investigation or prosecution of criminal offenses or in proceedings

15   related to the prosecztion of criminal offenses.

16               3.   Authority of the Federal Courts Under Section 3512

17        When enacting Section 3512, Congress intended that federal

18   courts facilitate to the fullest extent possible the execution of

19   requests by foreign authorities for assistance in criminal matters

20   and endeavored to streamline and expedite the execution of such

21   requests.   Section 3512 authorizes federal courts to issue "such

22   orders as may be necessary to execute a request" and specifically

23   includes:   orders for search warrants pursuant to Federal Rule of

24   Criminal Procedure 41; orders for stored wire or electronic

25   communications and related evidence under 18 U.S.C. ~ 2703; orders

26   for pen registers and trap and trace devices under 18 U.S.C. ~ 3123;

27   orders for the provision of testimony or other statements, or the

28   production of documents or other things, or both; and orders
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 1   appointing "a person" to direct the taking of testimony/statements or

 2   the production of documents or other things, or both.           See 18 U.S.C.

 3   ~ 3512(a)(1), (2).

 4         The assistance requested by Italy pursuant to the Treaty by its

 5   Minister of Justice on behalf of the Public Prosecutor at the Court

 6   H of Genoa in the instant Request falls squarely within that

 7   contemplated by both the Treaty and Section 3512.

 8         C.     APPOINTMENT OF A PERSON AS COMMISSIONER TO COLLECT EVIDENCE

 9                1.   Statutory Authorization

10         Section 3512(b) provides that a federal judge may "issue an

11   order appointing a person to direct the taking of testimony or

12   statements or of the production of documents or other things, or

13   both."     The statute further authorizes the person appointed to issue

14   orders requiring the appearance of a person, or the production of

15   documents or other th.iz~gs, or both; administer any necessar~~ oath;

16   and take testimony or statements and receive documents or other

17   things.     In keeping with past practice under 28 U.S.C. ~ 1782, a

18   federal court may appoint an attorney for the government, typically a

19   federal prosecutor, as "commissioner."

20               2.    Procedures for Evidence Collection

21         Section 3512(a) specifically empowers a federal judge to issue

22   "such orders as may be necessary" to execute the request.           This

23   authorization encompasses orders specifying the procedures to be used

24   to collect particular evidence, including procedures requested by the

25   foreign authority to facilitate its later use of the evidence.             In

26   executing a request made pursuant to a treaty, a court has the

27   obligation to prescribe effective and expeditious procedures designed

28   to promote the purpose of the treaty.        See In re Commissioner's
                                             9
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 1   Subpoenas, 325 F.3d at 1305.      Nothing in Section 3512 suggests any

 2   limitation on a court's power to exercise "complete discretion in

 3   prescribing the procedure to be followed," as was available under 28

 4   U.S.C. ~ 1782.    In re Letter of Request from the Crown Prosecution

 5   Serv. of the U.K., 870 F.2d 686, 693 (D.C. Cir. 1989), (quoting S.

 6   Rep. No. 88-1580 (1964), reprinted in 1964 U.S.C.C.A.N. 3782, 3789.

 7   See White v. National Football League, 41 F.3d 402, 409 (8th Cir.

 8   1994) (a court may issue whatever process it deems necessary to

 9   facilitate disposition of a matter before it); Fed. R. Crim. P. 57(b)

10   ("A judge may regulate practice in any manner consistent with federal

11   law, these rules, and the local rules of the district.").

12                    a.   Procedures Authorized by Other Statutes

13        In addition, Section 3512 references specific federal laws for

14   obtaining certain evidence and, by doing so, adopts any stat~ztorily

15   mandated procedures in x~lation to obtaining orders for search

16   warrants; orders for contents of stored wire or electronic

17   communications or for records related thereto; and orders for a pen

18   register or a trap and trace device.

19                    b.   Orders by the Person Appointed; Commissioner

20                         Subpoenas

21        Section 3512 authorizes the "person" appointed (here, and in

22   past practice under 28 U.S.C. ~ 1782, the "commissioner") to issue

23   orders "requiring the appearance of a person, or the production of

24   documents or other things or both."        Further, Article 4(1) of the

25   Treaty provides for the issuance of procedural documents, such as

26   subpoenas, to gather evidence.

27        The commissioner may issue a "commissioner's subpoena," to

28   obtain the requested evidence.      See In re Commissioner's Subpoenas,
                                           10
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 1   325 F.3d at 1291 (incorporating in pertinent part a district court's

 2   order directing use of commissioner's subpoenas); In re Erato, 2 F.3d

 3   at 13-14 (same).       Section 3512 expressly authorizes the service and

 4   enforcement of such orders, or commissioner's subpoenas, anywhere in

 5   the United States (i.e., coextensive with the service of subpoenas in

 6   U.S. criminal investigations and prosecutions).

 7                     c.    Notice of Evidence Taking

 8        As an initial matter, this application is being made ex parte,

 9   consistent with the practice of the United States in its domestic

10   criminal matters and its prior practice on behalf of foreign

11   authorities under 28 U.S.C. § 1782.        In re Letter of Request from the

12   Crown Prosecution Serv. of the U.K., 870 F.2d at 688; In re Letters

13   Rogatory from the Tokyo Dist., Tokyo, Japan, 539 F.2d 1216, 1219 (9th

14   Cir. 1976).     The Treaty itself contemplates the need for

15   confidentiality with respect to all aspects of the execution .,r

16   requests.   See Exh. 1, Treaty, Art. 8.      However, as set forth above,

17   confidentiality is not necessary, as Italy has not requested it.

18        Both Section 3512 and the Treaty at Article 4 authorize use of

19   compulsory process in the execution of treaty requests comparable or

20   similar to that used in domestic criminal investigations or

21   prosecutions.    Because subpoenas utilized in U.S. criminal

22   proceedings (i.e., grand jury and criminal trial subpoenas) are

23   issued without notice to any party other than the recipients (i.e.,

24   no notice to targets or defendants), orders and commissioner's

25   subpoenas issued in execution of treaty requests pursuant to Section

26   3512 and the applicable treaty likewise should require no notice

27   other than to the recipients.      In the absence of a specific request

28   to provide notice, a district court and United States authorities can
                                           11
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 1   assume that a requesting foreign authority has provided such notice

     as the foreign law requires, or that foreign law does not require

 3   notice and the requesting foreign authority does not consider notice

 4   to be necessary or useful.       Accordingly, a federal district court

 5   should authorize a commissioner to collect the evidence requested

 6   without notice to any party other than the recipient of the

 7   commissioner's subpoena except to the extent that a request asks for

 8   specific notice procedures.

 9                       d.   Right to Financial Privacy Act

10         The Right to Financial Privacy Act, 12 U.S.C. §~ 3401 et seq.,

11   does not apply to execution of foreign legal assistance requests.

12   Young v. U.S. Dep t. of Justice, 882 F.2d 633, 639 (2d Cir. 1989); In

13   re Letter of Request for Judicial Assistance from the Tribunal Civil

14   de Port-Au-Prince, Republic of Haiti, 669 F. Supp. 403, 407 (S.D.

15   Fla. 1987); In re Letters ~~f Request from the Supreme Court of I-:ong

16   Kong, 821 F. Supp. 204, 211 (S.D.N.Y. 1993).         Consequently, to the

17   extent that execution of a request entails production of bank or

18   financial records, notice provisions of the Act do not apply, and the

19   commissioner need not give, nor arrange for the custodian of records

20   to give, notice to an account holder.2

21   I III. CONCLUSION

22         For the reasons stated above, the United States respectfully

23   requests that this Court issue an order in the form lodged separately

24   herewith appointing Assistant United States Attorney John J. Lulejian

25   as a Commissioner to execute portions of the request, and authorizing

26
          2 The Act itself applies only to accounts maintained in a
27
     person's name and not to corporate, perhaps even partnership,
28   accounts. United States v. Daccarett, 6 F.3d 37, 50-52 (2d Cir.
     1993).
                                       12
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 1   said Commissioner to take such actions as are necessary to comply

 2   with the request, including the issuance of compulsory process in the

 3   form of Commissioner's orders or subpoenas, the administration of

 4   oaths to witnesses, and the taking of sworn testimony.

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                  98TH CONGRESS                                            TREATY DOC.
                                                 SENATE                       9b-25
                    Zd Session


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                    TREATY WITH THE ITALIAN REPUBLIC ON MUTUAL
         f                ASSISTANCE IN CRIMINAL MATTERS
        i

                                            MESSAGE
                                                   FROM



                    THE PRESIDENT OF THE UNITED STATES
                                              TRANSMITTING


                    THE TREATY BETWEEN THE UNITED STATES OF AMERICA hND
                     THE ITALIAN REPUBLIC ON MUTUAL ASSISTANCE IN CRIMINAL
                     MATTERS, TOGETHER WITH A RELATED MEMORANDUM OF UN-
                     DERSTANDING SIGNED AT ROME ON NOVEbiBEft 9, 1982




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                    TUNE  11, 1984.—Treaty was read the first time, and together with the
                      accompanying papers, referred to the Committee on Foreign Relations
                      and ordered to be printed for the use of the Senate


                                       U.S. GOVERNMENT PRINTING OFFICE

                    31-118 O                  WASHINGTON            1984




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                                       LETTER. OF TRANSMITTAL


                                                     THE WHITE HOUSE, June    11, 1981.
                    To the Senate of the United States:
                       With a view to receiving the advice and consent of the Senate to
                    ratification, I transmit herewith the Treaty between the United
                    States of America and the Italian Republic on Mutual Assistance
                    in Criminal Matters, together with a related Memorandum of Un-
                    derstanding, signed at Rome on November 9, 1982.
                       I transmit also, for the information of the Senate, the report of
                    the Department of State with respect to the Treaty.
                       The Treaty is one of a series of modern mutual assistance trea-
                    ties being negotiated by the United States. This Treaty contains
                    two major innovations: campulsory testimony in the requesting
                    State in appropriate cases and the immobilization and forfeiture of
                    assets.- The former is of great importance in insuring complete
                    trials in an age of raFidly increasing levels of international crimi-
                    nal activity. The latter is of great importance in depriving interna-
                    tional criminals of .the fruits of their crimes. The Treaty primarily
•                   utilizes existing statutory authority, but will require implementing
                    legislation for the provision concerning forfeiture of assets.
                       The Treaty provides for a broad range of cooperation in criminal
                     matters. Mutual assistance available under the Treaty includes: (1)
                    executing requests relating to criminal matters; (2) taking of testi-
                     mony or statements of persons; (3) effecting the production and
                     preservation of documents, records, or articles of evidence; (4~ serv-
                    ing judicial documents; (5) requiring the appearance of a witness
                     before a court of the requesting Party;(6) locating persons; and (7)
                     providing judicial records, evidence, and information.
                       I recommend that the Senate give early and favorable consider-
                     ation to the Treaty and give its advice and consent to ratification.
                                                                      RONALD REAGAN.




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                                     LETTER OF SUBMITTAL


                                                       DEPARTMENT OF STATE,
                                                         Washington, June 1, 198.x.
                THE PRESIDENT,
                The 4Yh.ite House.
                   TxE PxEstnExT: I have the honor to submit to you the Treaty be-
                tween the United States of America. and the Italian Republic on
                Mutual Assistance in Criminal Matters, together with a related
                Memorandum of Underst~~ding, signed at Rome on November 9,
                1982. I recommend that t~~e Treaty and the Memorandum of Un-
                derstanding be transmitted to the Senate for its advice and consent
                to ratification.
                   The Treaty contains two major innovations: compulsory testimo-
                ny in the requesting State (Article 15) and immobilization and for-
                feiture of assets (Article 18). The Treaty relies primarily on the ex-
                isting authority of the federal courts, particularly 28 U.S.C. § 1782.
                Where existing authority is absent or insufficient, this Treaty es-
                tablishes the necessary authority. The provision concerning forfeit-
•               ure of assets will require implementing legislation which I unde~-
                stand the Department of Justice intends to propose.
                   Article 1 provides for mutual assistance between law enforce-
                 ment agencies of the Contracting States relating to criminal pra
                ceedings or investigations. Article 1 also sets forth anon-exclusive
                list of the types of assistance available under the Treaty including,
                for example, taking testimony, serving documents, and executing
                requests for searches and seizures or depositions in accordance
                 with the laws of the requested State. Article 1 further states that
                assistance shall be rendered whether or not the acts under investi-
                gation are offenses in the requested State or the requested State
                 would have jurisdiction in similar cirumstances.
                   Article 2 requires that all requests for assistance be made and
                 executed through the "Central Authority" of each Contracting
                State. For the United States, the Central Authority is the Attorney
                 General. For the Republic of Italy, the Central Authority is the
                 Minister of Grace and Justice.
                   Article 3 sets out the necessary and suggested information to be
                 included in a request for assistance. These requirements are simi-
                 lar to those found in other recent mutual legal assistance treaties
                (such as those with The Netherlands and Turkey).
                   Article 4 provides for the execution of requests for assistance. Re-
                 quests shall be executed in accordance with provisions of the
                 Treaty and the laws of the requested State. The agency or author-
                 ity selected by the Central Authority to execute the request is au-
                 thorized and required to take whatever action is necessary and
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              within its power to execute such requests. The courts of the re-
              quested State shall issue the necessary process in the execution of
              a request. Desired procedures specified in the request for assistance
              are to be followed unless specifically prohibited by the laws of the
              requested State.
                 Article 5 specifies instances in which assistance may be denied or
              postponed under the Treaty. Mutual assistance may be refused if
             (1) assistance would prejudice the security or other essential public
              interests of the requested state,(2) the request relates to a military
             or political offense, or (3) the request does not comply with the re-
             quirements of the Treaty. Assistance may be postponed in in-
             stances where it would interfere with an ongoing investigation or
              proceeding in the requested State.
                Article 6 provides for the return to the requesting State of the
             completed request. To the extent possible, documents and records
              provided shall be complete and in unedited form.
                Article 7 provides for the payment of the cos*s of assistance. The
             requested State shall render assistance without cost, except for a)
             translation of documents, bi private expert fees, c) witness travel
             fees to the requesting State, and d) expenses related to the transfer
             of witnesses in custody.
                Article 8 provides for the confidentiality of evidence. The re-
             quested State may require that evidence and other information be
             kept confidential, except when disclosure is necessary in a public
             proceeding. Article 8 also provides that evidence sought under the
             Treaty will not be used for any purposes other than those stated in
             the request without the consent of the requested Sate.
                 Article 9 states that the requesting State shall return, upon re-
•            quast, documents, records or evidence furnished iii execution of a
             request as soon as possible.
                Article 10 states that the requested State shall make thorough
             efforts to locate within its territory persons specified in a request
             for assistance.
                Article 11 provides for the service in the requested State of legal
             documents transmitted for this purpose by the requesting State.
                Article 12 provides that the requested State shall furnish copies
             of publicly available documents or records of a government agency.
              Article 12 further provides that any nonpublic government docu-
              ment or record may be provided to the same extent and under the
             same conditions as it would be made available to the law enforce-
              ment or judicial authorities of the requested State. Finally, Article
             12 provides that these documents or records, if certified authentic
             by the Central Authority of the requested State, shall not require
             further cert~cation or authentication to be admissible into evi-
             dence.
                Article 13 provides for compulsory production of documents and
             articles to the same extent as would be required for criminal ac-
             tions in the requested State. Article 13 further provides for search
             and seizure if the request contains information which would justify
             such action in criminal investigations or proceedings under the
              laws of the requested State.
                Article 14 provides for the taking of testimony in the requested
             State. It states that a person shall be compelled to appear and tes-
             tify to the same extent as would be required in a criminal investi-

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                                             VII

            gation or proceeding in the requested State. Article 14 further

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            states that the requested State shall permit the presence of the ac-
            cused, counsel for the accused and persons charged with the en-
            forcement of the criminal laws to which the request relates.
               Article 14 also provides for questioning of the witness by those
            present, in accordance with the laws of the requested State, there-
            by permitting cross~xamination of the witness. Testimonial privi-
            leges under the laws of the requesting State are not applicable in
            the execution of such a request, but are preserved for decision by
            the courts of the requesting State.
               Article 15 provides for the taking of testimony in the requesting
            State. It states that the requested State shall compel a person to
            appear and testify in the requesting State provided that a) there is
            no reasonable basis to deny the request, b) a person could be com-
            pelled to appear and testify in similar circumstances in the re-
            quested State, and c) the requesting State certifies the testimony is
            material and relevant. Article 15 further provides that a person
            who fails to appear as directed s}gall be subject to sanctions under
            the laws of the requested State, such sanctions not to include re-
            moval of the person to the requesting State.
               Article 16 provides for the transfer of persons in custody for tes-
            timonial purposes in cases where the requesting State needs such a
            person as a witness and in cases where a defendant seeks to be
            present for purposes of confrontation at a judicial proceeding in the
            other State. A person in custody needed as a witness in the re-
            ques+,ed State shall be transported to that State s~ject to the con-
            ditioa~s set forth in Article 15. A person in custody who seeks for
•           purposes of confrontation to be present in another S+.,ate shall be
            transported to that State unless the State of custody has a reasona-
            ble basis for denying the request.
               Article 17 provides for the safe conduct of a person appearing as
            a witness before an authority in the requesting State. It states that
            such a person a) shall not be subject to suit, detention or any other
            restriction of personal liberty with respect to any act or conviction
            which preceded departure from the requested States, and b) shall
            not be prosecuted based on truthful testimony provided pursuant to
            the request. Safe conduct ceases, however, if ten days after notifica-
            tion that his presence is not longer required and he is free to leave,
            the person has not left the requesting State, or having left, has re-
            turned.
               Article 18 provides for the immobilization and forfeiture of
            assets. It.states that, in emergency situations, the requested State
            shall have authority to immobilize assets found in that State and,
            after appropriate judicial proceedings, to order the forfeiture of
             those assets to the requesting State. Such forfeiture authority will
             be of great importance in depriving international drug traffickers
             and members of organized crime of the fruits of their crime. As
    _        noted above, this provision requires implementing legislation which
             the Department of Justice intends to propose.
               Article 19 provides that assistance and procedures provided by
             this Treaty shall not preclude assistance available under any other
             applicable international agreements or under the domestic law of
•            the Contracting States.
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                    Article 20 provides that the Treaty shall enter into farce upon
                  the exchange of instruments of ratification.
                    Article 21 states that either State may terminate the Treaty
                  upon six months written notice to the other.
                    The Department of Justice joins the Department of State in fa-
                  voring approval of this Treaty by the Senate at an early date.
                    Respectfully submitted.




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          TREATY BETWEEN THE UNITED STATES OF AMERICA AND
           THE ITALIAN REPUBLIC ON MUTUAL ASSISTANCE IN
           CRIMINAL MATTERS
            The Government of the United States of America and the Gov-
          ernment of Italian Republic, desiring to conclude a Treaty on
          mutual assistance in criminal matters, have agreed as follows:
                                        AR'T'ICLE 1

                            Obligation to Render Assistance
             1. The Contracting Parties undertake to afford each other, upon
           request and in accordance with the- provisions of this Treaty,
           mutual assistance in criminal investigations and proceedings.
             2. Such assistance shall include:
                  a. locating persons;
                  b. serving documents;
                  c. producing documents and records;
                  d. executing requests for search and seizure;
                  e. taking testimony;
                  f. t:ansferring persons for testimonial purposes; and
•                 g. immobilizing and forfeiting assets.
             Other types of assistance shall also be granted to the extent such
           assistance is not inconsistent with the laws of the Requested State.
             3. Assistance shall be rendered even when the acts under investi-
           gation are not offenses in the Requested State and without regard
           to whether the Requested State would have jurisdiction in similar
           circumstances.
             4. This Treaty is intended solely for mutual assistance in crimi-
           nal matters between authorities of the Contracting Parties.
                                         ARTICLE 2

                                    Central Authority
             1. A request under this Treaty shall be made by a Central Au-
           thority for each Contracting Party. The Central Authorities shall
           communicate directly with each other to implement the provisions
           of this Treaty.
             2. For the United States the Central Authority shall be the At-
           torney General. For the Republic of Italy the Central Authority
           shall be the Minister of Grace and Justice.
                                         ARTICLE 3

                                  Contents of ¢Request
             1. A request for assistance shall indicate:
                                             (~)
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                             a. the name of the authority conducting the criminal investi-
                          gation or proceeding to which the request relates;
--                           b. the subject matter and nature of the investigation or pro-
                          ceeding;
                             c. a description of the evidence or information sought or the
                          acts to be performed; and
                             d. the purpose for which the evidence, information or action
                          is sought.
                       2. To the extent necessary and possible, a request shall include:
                             a. available information on the identity and whereabouts of
                          a person to be located;
                             b. the identity and location of a person to be served, that
                          person's relationship to the proceeding, and the manner in
                          which service is to be made;
                             c. the identity and location of a person from whom evidence
                          is sought;
                             d. a precise description of the place to be searched and the
                          objects to be seized;
                             e. a description of the manner in which any testimony is to
                          be taken and recorded;
                             f. a list of questions to be answered; and
                             g. a descriptior. of any particular procedure to be followed in
                          executing the request.
                       3. A request shall indicate the allowances and expenses to which
                     a person appearing in the Requesting State will be entitled.
                       4. A Yequest and accompanying documents shall be in both Eng-
                     lish and Italian.
•                                                  ARTICLE 4

                                            Execution of a Request
                       1. The Central Authority of the Requested State shall promptly
                     comply with a request or, when appropriate, transmit it to the au-
                     thority having jurisdiction to do so. The competent officials of the
                     Requested State shall do everything in their power to execute a re-
                     quest. The courts of the Requested State shall issue subpoenas,
                     search warrants, or any other process necessary in the execution of
                     a request.
                       2. A request shall be executed in conformity with the provisions
                     of this Treaty and according to the laws of the Requested State.
                     Procedures specified in the request shall be followed unless prohib-
                     i~ed by the laws of the Requested State.
                                                   ARTICLE 5

                                          Limitations on Corrcpliance
                        1. The Requested State may deny assistance to the extent that:
                            a. execution of a request would prejudice the security or
                          other essential public interests of the Requested State;
                            b. a request relates to a purely military offense or a matter
                      .. considered a political offense by the Requested State; or
                            c. a request does not comply with the provisions of this
                          Treaty.
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             2. Before refusing to execute a request, the Requested State shall
           determine whether assistance can be given subject to such condi-
           tions as it deems necessary.
             3. The Requested State may postpone execution of a request or
           grant it subject to conditions if execution would interfere with an
           ongoing investigation or proceeding in the Requested State.
             4. The Requested State shall immediately inform the Requesting
           State of the reason for partial or total denial or postponement of
           assistance.
                                        ARTICLE 6

                             Return of a Completed Request
             1. Upon completion of a request the Requested State shall, unless
           otherwise agreed, return to the Requesting State the original re-
           quest together with all information and evidence obtained, indicat-
           ing place and time of execution.
             2. To the extent possible, all documents and records to be fur-
           nished pursuant to a request shall be complete and in unedited
           form. Upon application of the Requesting State, the Requested
           State shall make every effort to furnish original documents and
           records.
                                        AR'~ICLE 7

                                 Costs and 75-anslations
•            The Requ~~ted State shall render assistance without cost +..o the
           Requesting State except for:
                 a. expenses incurred in the translation of documents accom-
               panying arequest or which result from a request;
                 b. fees of private experts specified in a request;
                 c. all expenses related to travel of witnesses pursuant to Ar-
               ticle 15; and
                 d. all expenses related to the transfer of witnesses in custody
               pursuant to Article 16.
                                        AR'T'ICLE 8

              Protecting Confidentiality and Restricting Use of Evidence and
                                       Information
              1. When necessary, the Requested State may re-quire that evi-
            dence and information provided, and information derived there-
            from, be kept confidential in accordance with stated conditions.
            Nevertheless, disclosure may be made where necessary as evidence
            in a public proceeding.
              2. If deemed necessary, the Requesting State may request that
    _       the application for assistance, the contents of the request and its
            supporting documents, and the granting of such assistance be kept
            confidential.
              3. The Requesting State shall not use evidence obtained, nor in-
            formation derived therefrom, for purposes other than those stated
            in a request without the prior consent of the Requested State.
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                                              ARTICLE 9

                       Return of Documents, Records, and Articles of Evidence
                   The Requesting State shall return upon request any documents,
                 records, or articles of evidence furnished in execution of a request
                 as soon as possible.
                                              ARTICLE 10

                                          Locating Persons
                   The Requested State, consistent with the provisions of this
                 Treaty, shall make thorough efforts to ascertain the location of per-
                 sons specified in the request and believed to be in the Requested
                 State.
                                              ARTICLE 11

                                         Serving Docum,,~nts
                   1. The Requested State shall cause service of any document
                 transmitted for that purpose by the Requesting State.
                   2. A request for service of a document requiring the appearance
                 of a person before an authority in the Requesting State shall be
                 transmitted a reasonable time before the scheduled appearance.
                   3. A document requiring such an appearance shall be served
                 thirty days prior to the scheduled appearance or as otherwise
                 agresd.
                   4. The Requested State shall return a proof of service executed
                 according to its laws.
                                              ARTICLE 12

                     Providing Documents and Records of Government Offices or
                                            Agencies
                   1. The Requested State shall provide a copy of a publicly avail-
                 able document or record of a government office or agency.
                   2. The Requested State may provide any document or record in
                 the possession of a government office or agency, but not publicly
                 available, to the same extent and under the same conditions as it
                 would be available to its own law enforcement or judicial authori-
                 ties. The Requested State in its discretion may deny the request en-
                 tirely or in part.
                   3. Any document or record provided pursuant to this Article in
                 accordance with procedures specified in the request and certified
                 authentic by the Central Authority of the Requested State shall re-
                 quire no further certification or authentication to be admissible
                 into evidence in the Requesting State.
                                              ARTICLE 13

                               Producing Other Documents and Records
                   1. The Requested State, if necessary, shall compel a person to
                 produce a document, record or article to the same extent as would
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                  be required for criminal investigations or proceedings in that State.
                  When search and seizure is required, the request shall contain
-      -          such information as would justify such action in criminal investiga-
                  tions or proceedings under the laws of the Requested State.
                    2. With respect to paragraph 1 of this Article, every official of
                  the Requested State who has custody of a seized document, record
                  or article shall certify to the Central Authority of that State the
                  identity of the thing seized, the continuity of the custody thereof,
                  and the integrity of its condition. The Central Authority of the Re-
                  quested State shall certify that the procedures specified in the re-
                  quest have been followed to the extent possible pursuant to the
                  laws and practices of that State. A document, record or article so
                  certified shall require no further foundation to be admissible into
                  evidence in the Requesting State.
                                               ARTICLE 14

                               Taking Testimony in the Requested State
                    1. A person from whom evidence is sought shall, if necessary, be
                  compelled to appear and testify to the same extent as would be re-
                  quired in criminal investigations or proceedings in the Requested
                  State.
                    2. Upon request, the Requested State shall specify the date and
                  place of the taking of testimony.
                    3. The Requested State shall permit the presence of an accused,
                  counsel for t~~~e accused, and persons charged with the enforc~~nent
•                 of the criminal- laws to which the request relates.
                    4. The executing authority shall provide persons permitted to be
                  present the opportunity to question the person whose testimony is
                  sought in accordance with the laws of the Requested State.
                    5. The executing authority shall provide persons permitted to be
                  present the opportunity to propose additional questions and other
                  investigative measures.
                    6. Testimonial privileges under the laws of the Requesting State
                  shall not apply in the execution of a request, but such questions of
                  privilege shall be preserved for the Requesting State.
                                               ARTICLE 15

                               Taking Testimony in the Requesting State
                    1. The Requested State, upon request that a person in that State
                  appear and testify in connection with a criminal investigation or
           '
           ~      proceeding in the Requesting State, shall compel that person to
                  appear and testify in the Requesting State by means of the proce-
                  dures fvr compelling the appearance and testimony of witnesses in
                  the Requested State if:
                         a. the Requested State has no reasonable basis to deny the
                       request;
                         b. the person could be compelled to appear and testify in
                      similar circumstances in the Requested State; and
                         c. the Central Authority of the Requesting State certifies
                       that the person's testimony is relevant and material.
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                                                6
                 2. A person who fails to appear a~ directed shall be subject to
               sanctions under the laws of the Requested State as if that person
               had failed to appear in similar circumstances in that State. Such
               sanctions shall not include removal of the person to the Requesting
               State.
                                            ARTICLE 16

                    Transferring Persons in Custody for Testimonial Purposes
                 1. A person in custody needed as a witness in the Requesting
               State for criminal investigations or proceedings shall be transport-
               ed to that State pursuant to conditions proposed by Article 15(1).
                 2. A defendant in custody in one State who seeks for purposes of
               confrontation to be present at a judicial proceeding in the other
               State shall be transported to that State unless the State in which
               the defendant is in custody has a reasonable basis to deny the re-
               quest.
                 3. For purposes of this Article:
                      a. the receiving State shall have the authority and obligation
                   to keep in custody a person transferred unless otherwise au-
                   thorized by the sending State;
                      b. the receiving State shall return the person transferred to
                   the custody of the sending State as soon as circumstances
                   permit or as otherwise agreed;
                      c. the receiving State shall not decline to return a person
                   transferrer on the basis of nationality nor require the sending
                   State to initiate extradition proceedings; and
•                     d. the p~;rson transferred shall receive credit for service of
                   the sentence imposed in the sending State while in the custody
                   of the receiving State.
                                            ARTICLE 17

                                          Safe Conduct
                 1. A person appearing before an authority in the Requesting
             'State pursuant to a request:
                     a. shall not be subject to suit, or be detained or subjected to
                   any other restriction of personal liberty, with respect to any
                   act or conv~ction which preceded departure; and
                     b. shall not be subject to prosecution based on testimony pro-
                   vided pursuant to the request to the extent that such testimo-
                   ny is required to honor the request and is true.
                2. Safe conduct provided in this Article shall cease if, ten days
              after the person appearing has been notified that his or her pres-
              ence is no longer required, that person, being free to leave, has not
              left the Requesting State or, having left, has returned.
                                            ARTICLE 18

                             Immobilization, and Forfeiture of Assets
                 1. In emergency situations, the Requested State shall have au-
               thority to immobilize assets found in that State which ai-e subject
               to forfeiture.

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              2. Following such judicial proceedings as would be required
            under the laws of the Requested State, that State shall have the
            authority to order the forfeiture to the Requesting State of assets
            immobilized pursuant to paragraph 1 of this Article.
                                            ARTICLE 19

                             Other ~eaties and Domestic Laws
              1. Assistance and procedures provided by this Treaty shall not
            prevent or restrict any assistance or procedure available under
            other international conventions or arrangements or under the laws
            of the Contracting Parties.
              2. The activities of the International Criminal Police Organiza-
            tion (INTERPOL)are not affected by this Treaty.
                                            ARTICLE 20

                             Ratification and Entry into Fare
              1. This Treaty shall be subject to ratification and the instru-
            ments of ratification shall be exchanged, as soon as possible, in
            Washington.
              2. This Treaty shall enter into force upon the- exchange of instru-
            ments of ratification.
                                            ARTICLE 21

                                        Denunciation
              Either Contracting Party may terminate this Treaty at any time
            by giving notice to the other Party and the. termination shall be
            effective six months after the date of receipt of such notice.
              IN WITNESS WHEREOF the undersigned, being duly authorized
            by their respective Governments, have signed this Treaty and have
            affixed hereunto their seals.
              Done in Rome in duplicate, in the English and Italian languages,
            both equally authentic, this 9th day of November 1982.

                         For the                             For the
                 U nited States f America                ~I arlarY Repclblic




                       ~~
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         Instrument as contemplated by Article 3(2) of the Agreement on iLiutuai
        Legal Assistance betn~een the tinned Stafes of Aaaerica and the European
        Union signed ZS Jnne ?003, as to the application of the Treaty between the
        United States of America and the Italian► Republic on lTutual Assistance iu
                        Criminal ;M1ta#lets signed 9 No~-ember 1982


      As contem~alated b~ ArticIe 3(2) or the ~gxeement on Mutual i.egal
      assistance 'between the United States of America and tY:e ~urapear_ Limon
       signed 25 .1~ine 2003 {hereafter "the U.S.-ET.i Iv~utual I~egai Assistance
       Abeernene"); the Gove~iunents of the United States of America and the
      Italiar_ Repub~ic acknoti~•ledge That, in accordance wi#h the ~+ro~isions of
      this Instrument; the U.S_-EL ~1ut~a] Lzgal Assistance Agreement is
      anplie~ n relatio*~ z~ t_h,~ ~il~terai Treaty bets:peen the United StaE~s o~
      America a~r~ tl:~ Itali.ar. Republic o:7 ~1a4ua! Assi~t~rce in Criminal
      i~~atiers signed ~ ~*iavembea~ 1982 (hereafter "the 1982 Mut~ia: Assistance
      Treaty") under the follawina terms:

aj     r'lrticle ~ ofthe t?.S.-ELr iViu~!ial L.ega3 Assistance AUreemert as set forth
       ir, Artic;e 18 bis o~ fi e annex to this Ins#nam:;n? sl~a?1 gov~~*z: th;:
       identification of tmanciai account. and transact:OrS, in adc'i?inn to anv
       atxthonty ahead}- pro~-ide~ cinder the 19S21~Tutua'.• Assistance Treat}~;~

b)      Article 5 of the U.S.-EU M«tual Legal Assistance Agreement as set foz~th
       in Article 18 ter of the Annex to this Instrument shall govern the
       forniation and ac#ivities of joint investigative teams, in addition to any
       authozity already provided under the 1982 lRutual Assistance Treaty;

c}     Article 6 of the U.S.-~U Mutual Legal Assistance Agreement as set forth
       in _'~rticle~ 7 and 18 quater of the Anne. to this nshurleni shall go~~ern
       the taking of #estimony of ~ ~ersor. loca€ed in the Requested State by use
        t~f viaeo transmis~io~ technology betsv- eer +..he Requesting and Re~uesied
        S#ales, in addition to any auti~or:ty ahead f provided under he 1X82
       M~~taial Assistance Treat~~;

d}    ~~rticie 7 of the L?.S.-~U ~rlutua? Legal Assistance Agreement as set forth
      in Article 2(3) of the Annex to this Instrument shall govern the use of
      expedited means of communication, in addition to any authority already
      provided under the 1982 l~~.ufual Assistance Treaty;
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     e)    Article 8 of the u.S.-EU ~1~ihia~ Legal Assistance Agreement as set forth
           in Article 1 (1 bis) of the Annex to this Instrument shall govern the
           providing of mutual assisiar~ce to the administrative authorities concerned,
           in addition t~ amp auihori~y atready provided under #fie 1982 Mu7ia1
           Assistance Treaty;

  fl       ?,,zticle 9 of the U.S.=ETJ vlutual Legal Assistance A~~reer_ient as set forth
           in Article 8(3j-(5) of the Annex to this Instxument shall govern the
           limitation on rise oFinformation or evidence pro~~ided io the Requesting
           State, and the canditi~ning or refusal of assistance on data protection
           ~ro~:nds.

2.         Tne. Annex reflects the ;:niegrafe~ text of #1~~e -previsions offhc; 1982
           viu~t~ai ~ss;sxance Treaty arse the L,S.-ELF ~1utt!ui Leal assistance
           Agreement fiat shad ~:pply aeon entry ~nt~ force of tiazs ~nsirutn~ni.

3.         In aceor~ance ~rifh Article I~ ~ftt!e "LJ.S.-Eli ~'iutual regal Assistance
           A~reer__ert, this T~,tniment small apply t~ ofarses commit~~d before as
           ~~•ell ~s afr~r it enters into force.

4.        T?~~s I:,striameni shall not app;.y to requests made p~ioz t4 its entr;- into
          force; except that; in accordance ~3~i#h Article I2 of'ihe LT.S.-EL' _?~'~utua]
          Legal Assistance Agreement, Articles 2(3), 7(e) and 18 quater ofthe
          ,Annex shall be applicable to requests m2de prior to such entry into force.

5.        Article 18 of the Annex shall be applied in lieu of tli-ticle 1 S ofthe 1982
          .
          Mutual Assistance Treaty; and the related exchange of diploma#ic notes
          between the United States and Italy of 13 November 1985.

6. a) 'This Instrument shall be sub}ect to the completioax oy the tinited States of
      :~meric~ Gad the Itali~.n Republic oftheir respecti.~e applicable internal
       procedures fcr miry into force. The Gaff°ernments of t'~e United States o~
       America and the Italian i2epublic s'r_all thereupon exchange instruments
      indicating that such measure-s J.iave been completed, TYzis Instrument shall
      enter into force on the date o.f entry in co force of t}~e ~.5.-EU ~~uival
      Legal Assistance Agreement.

 b) In the event of termination of the U.S.-EU ivlutual Legal Assistance
    Agreement, this Instalment shall be terminated and the 1982 ~Suhtal
    Assistance Treaty shall be applied. The Governments of the United States
    of America and the Italian Republic nevertheless may agree to continue to
    apply some or all of the provisions of this Tnstrumeni_
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 1~ tiS'IT~ESS ~4VI~ERFOF, the unclersz~ned, being duly auth~r~zedby their
       IC5~7GCt1Vi. Governments, have signed this Instnrment.



 DOtiT~, at Rome; in dupJi•~ate, this third day of May 20 6, in ?he English and
      Italiar lan¢uages, both te~:ts being equally auther_ric.         v


FOR "I'HE GOVERNi~~~T OF THE               FAR T'H~, GO~`F>R'~T~1ENT OF THE
UNITED STATES OF Ati1ERiCA:                ITALIAti R~Pli~3i:IC:


                                                 if      ~ .'
(~'1~"t'~r
~
          ~!~
                                                 jl L
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                                          ANtiEX
    TREATY B~:7'~~'EE~ THE L?TI~'ED S'I'TES Ole A:'~IERIC~ AND
      THE ITAT:~AN REPUBLIC O ~i 1~~iTT[iAL ~SSISTAI4CE Ii i
                      CRI1IINaT~ ~L~.'I"I'ERS


                                        ARTICLE 1
                              Obliaatior io Render Assistance

   1. Tl~e Co~traciin~ Parties undertake to affcrd each other, upon request
   and in accordance ~~ith the pro~s~ision~ offhis Treaty, muhial assistance in
   criminal in;~e~tiga~ions ar~dproceedin~s.

  ,1 bis. a. i~~?utuai assistance shall alsc oe affror~'ed to a riatior_ai
   administrati~°e authority, investi;atznQ conduct ~vitn a ~ie;~• to a c,iminal
   grosecutioT of the conduct, or referral of the conduct to criminal
   anvestigati~r~ or prosecution atit'rA~rities, pursuant to its speci.fc
   administratiti~e or re~nt,atrry aLithority io undertake such investi~ztior_.
  : ~~~ut~al assistance r~.av also oe afro;dec"~ ~O DLIleZ dQZP.lI1151F3FIVe 3ll~~1~I3~1~5
   u~zder such ~ z'c,~~~starces. Assistance shall_ :zot be availa'ele zoz :*utters i~~
   ~~,-hich the adninistrative authoriiy anticipa~e~ tx~at no prosecution ox
  referral, as applicable, will take place.

         b. Requests for assistance under this paragzlpi~ sha1I be transmitted
  between the Central Authorities designated pursuant to Article 2 of this
  Treaty, or between such other authorities as the Central Authorities agree
  instead #o designate as an alternate channel for transmission.

  Z. S13Ckl ~,SSISt~i`1C"~   shall include:
          ~.l~cating persons;

          b. seetiing documents;

          c. ~roducirg documents and records;

          d. execuiin~ reyuesEs far search and seizure;

          e. #aking testimony;

          f, transfemng persons for tesCimonial purposes; and

          g. immobilizing and forfeiting assets.



                                                                                       4
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  Other Types of assistlnce shad also be granted to the extenfi such
  assistance is not inconsistent with the laws of the Requested State.

  3. Assistance sha11 be rendered even when the acts under ~nz-estigaYion
  axe not offensv5 iil }~'~e Req?~ested State and without rzgard io L~~hei~er the
  Requested Mate tis-ould have jurisdictian in similax circuznsiances,

  ?. This Treaty is intended solely for rrxufivai assistance in c:irs~inal hatters
  between atathoritie~ of the Contracting Parties.



                                   ARTICLE 2
                                 Central Auti~ority

  i. ~ recuest un~.~r phis T:eat~r shall be made by a Central ~utho~:iy for
  each Contacting Party. the Central Authorities shall comma nicate
  directly ~~iEh each other io implement the pxeviaions of this ~rea±i•.

  ~. For *she L~ni?ed States t~~ Cents? ~uthort~~ shall ce zhe ?ttaraev
  iie~ezaL For the Dalian t:~•;~u'ulic the central_ A.iathori~~ stall bet e
  ~vlinister of 7~siice.

 3. Requests for mutual assistance made by authorities under this Treaty,
 and communications related Thereto, may be made by expedited means of
 communications, including fax or e-mail, with formal confirmation to
 follor~ whew required by the Requested State. The Requested State may
 respond to the request by any such expedited means of communication.



                                 ~T~cz.~
                            ~'c~nFznt~ of a Req~iest

  ~ . ~ request zor assistaice shn1l i_ndicat~:

       a. the name of th•~ authoril}- conductin           the irk-estiaat~iaz: or
 procezding to vcrhich tl~e request relates;

        b. fhe subject matter and nature of the investigation or proceeding;

       c. a descriptioirof th:, evidence or information sought or the acts to
 be performed; anal

       d. the piupose for which the evidence, information or action is
 sought.
                                                                               S
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   2. 'I'o the extent necessary and pcssibie, a request shalt include:

          a. available information on the ie~entity and whereabouts of a
   _person to be located;

          b. the icien~ity anc? location of a persan to be s~n°ed; ti~at ~erso~'s
   relationsrip to she procee:3in~, and the manner in a-hick service is to be
   made;

         e. the ideniity anci ?ocation of a person, from whom zyidence is
   soug~i;

          d. a precise description of the place to be searched and the objects
   to be seized;

         e. a descriptian of the r~arner ~n ~~.-h~ch ar~~ t~s~imc~ny' is to be taker
   aid recorded;

          f. a list of questions to be anstivered; aad

          g. a desczipron of any particular pracedur~ tc be followed in
   e~ec~tiiLgihe r~ques#.

   3. A reques# shall indicaie one allo.Yarices and expenses to which a person
   appearing in the Requesting State will be entitled.

   4. ~ request and accompanying documents shall be in both English and
   Tta]ian.



                                   Al~'iICLE !~
                              ~.xecution of a R~;quest

   1. The Central Authority of the Regt~este~ State shall promptly co~pIy
  with s request or, ~~~ner_ appropriate, transmit it #o fh~, authori~v b.a~-i~g
  juzasdiction to do so. The competent officials of the requested Stage shall
  cio everything in their power to execute a request. The courts of the
  Requested State shall issue subpoenas, search warrants, or any aYher
  process necessary in the execution of a request.

  2. A request shall be executed in conformity with the provisions of tMs
  Tzeaty and according to the laws of the Requested State. Procedures
  specified in the requc;st shall be followed unless prohibited by the laws of
  the Requested State.


                                                                                 [~
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                                   ARTICLE 5
                           Lin~itaiions on Compliance

 _. The Re7uestec State :nay deny assistance to fhe extent ihat:

        a, execution or a request ~~~ould prejudice the securty ai• oti~er
 essential public interests of tl~e Requested State;

       b. a request relates to a purely military- offense or a matter
 considered a political affense by the Requested Siat~; or

        c. a request does no# cor.~ply ~~vitlz the provisions ofthis Treaty.
 2. ~3efore :e~l1SIIIa to ~xecu.te a request, the Regtzesteci State sha:i
 ~~terr,~ine ~~hetll~;r assistance ea.~ be gi~•en su~iect t~ +ic17 cor..~iti~ns.as it
 deems necessary.

 3. `The Requested State may postpone ~.secuiion of a request or grant i[
 subject to eanditians if execution woulc interfere ;-vi~h an ongoing
 in~~esti~atia.n oz psoce~ding in tine Re~uesied State.

 =~. Tie Rec~u~sted Stag shalt iznr:~ciiatelj- infarin the Reque~tirg S±air o.i
 the rc;~sor for partial or total d~nia( or }~ostpo~~,zLient of assistance.



                                 ARTICLE 6
                        Rehirn of a Completed Request

  1. upon completion of a xequest the Requested State shall, unless
 otherwise weed, reilun to the Reguestin~ State the ori~in~l request
 together witf; all informa#ion. and evidence obtained, indicating place gnu
 time of execution.

 ~.. To the extent passible, all documents and records tc be iurnishe~
 pursuant to a rec~~iest shall be complete ar~d in unedited form. Upart
 application of tie Requesting State, the requested State shalt make every
 efzort t~ furnisr orisina! documents and records.




                                                                                   7
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                                       ARTICLE
                                  Costs anal Translations

  The Requester. State shall ruder assistance ri=ithaut cost to the Requ;.sii~~
  State except for:

         a. expenses incurred in the trans:atic~n of docaments aecoznpa~ying
  a request flr which result froze a requ~#;

         b. fees of private experts specified in a zequest;

         c. ~1] e~~enses related .io travel of witnesses pursuant to Article 1?;

         d. ai? ex;~enses rela~e~ ro the trar~sier of r.~i2resses in c~sto~,a
  p~;rss~n to y~?cie 15; and
        ,., the costs associated wire establishing and servicing a video
  trunsm ssion pursuant to Article 18 quafer, unless other,-ise agrees€ by the
  Raqucsting arxd Requested States; other costs arising in the course of
  pravidinb assistance ~ir,.cl`udtr.~ cysts associated rvi?h crave of participants
  in ?he Requested Siam) shall ~e h~tne it acco:d~rce ~~~ith the other
  DTOV1S10P5 OrtlllS t~i"CiCt~.




                                  ARTICLE 8
          Protecting Confidentiality and Restricting Use of Evidence
                               and Infozmarian

  1. W1~en necessary, the Requested State 'may require that evidence and
  information provided, and information derived therefrom; be kept
  con:fidertial in aceozdance v~ith stated conditions. \evert;~eless, disclosure
  may b~ made -here necessary as evidence in a public proceeding,

  2. if deemed necessary; the Requesting Slate ma}~ request that the
  application for a~sistar_ce, the co:~tents of the request and its supporting
  documents, and the banting c~i such assistance be. kept cer.~;i~;ntial.

  3. The Requesting State m ay a se any e 5••idence or information obtained
  fi~oni the Requested State:

         a. for the purpose of its criminal investigations and proceedings;

         b. for preventing an tmmediate and serious #hreat to its public
  security;

                                                                                8
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         c, in its non-crimiaal.}t:diciai or administratiYe proceedin€s direcEly
  related to investigations or praceedinQs:

                i. set forth in subparagraph {a); or

                ii. for ~~~hich mutuu: assistance was rendered under Article
                    1(1 bis) of tris Trear~;

         d. for any other purpose, if tl~e snformation or eviu'yace has been
  ma~1e pablic within the framework of proceedings for which they •ere
  transmitted, or in any of tk~e situations described ire subparagraphs (a);(b)
  and {c); and

           e. for any- aver pn:~~se, o.nl~-• L;i;h she ~aricr c~n~~zt of tn~.
  lZec~w~.steci State.

  ?' .   a. This Article shat: not prejudice the ability of the Requested Sate
  ~n accardance wit: Ynis Tre~~~ tc irnpcse ad~itionai conditions in a
  p~uticula; case z~,~he,:e `the particular rc;,uest for assistancL could got be
  compli:,d ~-ith in the a~settce or suc`r~ canditior_s_ ~,'her~ addiii~nzl
  co~~itions have -been i.~~posed in uccor~ance ~tit~~-~ this str~paza~a~n, the
  Requested St~1t~ may require t;ze Requesting State to give information on
  the use made of the evidence or information.

         b. Generic restrictions with respect to the legal standards of the
  Requesting State foz processing personal data may not be imposed by the
  Requested State as a condition under subparagzaph (a) to providing
  e:~idence or information.

  ~. ~,~~here, follo~vin~ disclosure ~a the R~questirAg Sia#e, the Reque,ted
  State b~cornes asvarL off' circams#ances that inay cause it to seek an
  additional condition in a pariiculaz case, the i~ec~ue~ted State may consult
  ~.vitla the Requesting 8tatz to determine ire e:~tent ~o w-hich the e~~idence
  and nforrna~ion can ee Uroteeied.



                              ~R~'ICLL 9
           Return ofDocuments, Records, and Articles oFEvidence

  The Requesting State shall rehirn upon zequest any docutx~ents, records, ox
  articles of evidence famished in execution of a request as soon as
  possible.
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                                   4R'I'ICLE 10
                                  Locating Persons

  The Requested State; consis-tent it-ith the provisions of this Treaty, s:~ail
  make thoroi~~h e£f~i-ts io ascertai:~ ~:~e location of perso:.s speeifie~ .in the
  request and'oelieved to be in ~che Regtiested State.



                                  ~RTICI.t 11
                                Sen~in~ Docttzaents

  1, `I'he ~eauested atate shall cal~se sec-.~ice o~ a;~y c~oc~~~ncnr tr~~~rr~itted
  i~r that purpo~;; b;~ the Rea~aestin~ Siaie.

 2. A request for service of a document requiri:zg t~:v 1ppear~nce oz a
 person before an authority in the Requesting State shall be transr~utted a
 ;easonab;e time befoze the sc?:eci~iied u~~eaxance.

  _. _~ dact~zwent ~•equirizK s~ack~ ~~ «~peara~~ce s:~~afl be serve thirty cla~~s
  pricer to ?:hi scheduled appe~raace ar as other4~;• se agreed.

  4. The Requested State shall reiurn a proof of service executed accardintr
  to its laws.



                               ARTICLE 1.2
    uzuviding Documents Fznd Records of Government Offices or Agencies

  J . ihie Rec~uestetl State shall pr:~vide a cop;r of a p~iblicly available
  ~oc~~~ren~ or record of a Qovernr_~ent office ar agency.

  2. ?   7e Requested State ma}~ proi ire a;7y dacumen# or record in the
  possession of a dos ernment oifce or agency, but not publicly availabl~:., t~
  fhe same ext~~rt and under tree same con3itions as it would tie available to
  ifs o~~~r~ law• enfozceaneni or jl~.dicial authorities. The Requested State i_~ its
  discretion may deny the request entirely or in dart.

  3. Any document or record provided puzsuant to fhis At~ticle in
  accordance with procedures specified in the request and certified authentic
  by the Central Authority of the Requested State shall require no further
  certification or authentication to be admissible into evidence in the
  Requesting Stale.
                                                                                  10
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                                 ARTICLE 13
                    Producing Other Documents and Records

   1. The Requested Stste, if nzcessary, shall compel a person to produce a
  document, reeor~ or article io tk-~~ same extent as ~zY~ule be :~quued for
  criminal investi;ations o~ proceedings in ihai State. i~'hen seazch and
  seizure i s r egt~ired; t he r egiiest s hall c antain s uch i nforrnation a s would
  jl~scify such action in criminal in~estz~ations ~r pr~ce~dings nnd~r the
  iaivs of the Req~iested State.

  2. 1~i~'ith respect to parabaph 1 0~ this Article, every oftzciai of the
  Requested State ~uho has custody of z seiz::d document, recorC. or article
  s~;ail card*y tc the Ceri~~i authority of that Staie *he ideatit;~ of she th.irig
  seize, the contin~~3:~a of the cu~todt= thereof, anri i~v i.~~tegxity of its
  condition. 1~~e Cer..tral ~utnori~y~ of the Rec~ues?ed State shall certify '~haz
  the procedures specified in the request have been followed to the extent
  possible ptarsuan# to the laws anti practices of tha; Sta#e. A document,
  recoxd or ~rti41e so certified sha[1 require no fi~rthez foundation to be
  admissible 3?'ito ee-idcnce iz~ the Requesting ~Eatn.



                                AR'TIC~...E 14
                    Taking Tes#imony in the Requested State

  1. A person from whom evidence is sought shall, if necessary, be
  compelled to appear and testify to the same extent as would be required in
  criminal investibations or proceedings in the Requested State.

  =. Lpcn rec}uest; the Requested State shalt specify the date and place of
  ±he taking of testimony.

  _-. 1hP Requested ~t~te shall pzrxzai~ Ehe ~reser~ce Gf an acct~se~l, counsel
  for the accused, and persons charged ~~~it~: the enforcement ~f the cz~minal
  1a~;~s to wtzich the request relates.

  4.~ 7"he executing atitt~orit;• shall prol~ide persons permitted to be present
  ihz opportunity to question the person ti~~hose testimony is sought in
  accordance ~k-ith the laws of the Requested State,

  5. The executing authority shall provide persons permitted to be present
  the opportunity to propose additional questions and other investigative
  measures.

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  b. Testimonial privileges under the laws of the Requesting State shall ;got
  apply in the execution of a request, but such questions of privilege shad be
  preserved fo.r the Requesting State.



                                f~RTICI.,~ 1
                   TakinQ'~'estimony in the Requesting Sate

  1. The Requested Mate, upon req~~est thaf a person in that Slate appear
  and ~estif}~ i~ connection ~s~ith a criminal in~~esti;ation or proceeding in t'~e
  Requesting State, shall compel that person to appear and testify in the
  Requesting State by~ r<eans of the proce~tures fo: campeIl_ing the
  a~peara;~r,~ t~IId iesllmony Of ~~'iCtleSses in tY~e Reques~~d sate iii

         a. the Requested Sta.e has r_o reasonable oasis to deny +1~e request;

        b. the person could be co~rpeiled to ~p~ear and testify in simi?~r
  circumstances it the Requested State; a31d

         c. til~ C~ntrai ~~:~horii~- o~ the Reci.esti~g S?atc ter::yes t~,at cn~
  persor's testimony is relevant and material.

  2. A person who fails to appear as directed shall be subject to sanctions
  under the Iaws of the Requested State as if that person had failed to appear
  in similar circumstances in that State. Such sanctions shall not include
  removal of the person to the Requesting State.



                                  ARTICLE 16
          Tiarsiez-r~~~~ Fersors in C~isto~y .for "~'estiz,~~:~ial Purposes

  1. A person in custo~y needed as a ti~~itness in tl~e F~eques~ing Stale for
  ~r_~una] ir-i-estigations or procecciinos dial? be iransp~rted to that Stz#e
  guzsuflnt t~ conditicns proposed by AY-tic3e 15(1;.

  2. t~, defendant in custody in one State who sees ror purposes of
  conEronfation fo be present at a judicial proceeding in the other State shall
  be transported to That State unless the State in which the defendant is in
  custody has a reasonable basis to deny the request.




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  3. Far purposes oft~ais Axiicle:

         a. the receiving State shall have the authority and obligation to keep
  in custody a person transferred unless oihen~~ise authorized by the sending
  State;

         b. the xeceiving State shall zeturn the person transferred to the
  custod,r of the sending Slate as soon as circumstances perrriit ~r as
  otherwise agreed;

         c. the receiti~irig State sha11 not dec]ine to reiurn a person transfe:*ed
  on the basis of nati3nality nor require the sen~in~ State to ini.ia#e
  ~xtraditian proceed3a~s; a;~C

         tj. I~it, ~'i~iS0i7 if~,'iSfe~red 3Y2~'LI Ic^CCl"vE CT~C13i 14I' S~TS`1i,2 O~ i~@
  szntence imposed iri the sending Stale while in the cusiody of the
  receivin, State.



                                     ARTICLE 17
                                     Sale Cenrhfct

  1. A person appeaz-in~ before an authority in the Requesting State
  pursuant to a request:

         a. shall not be'subject to slut, or be detained or subjected to any
  other restriction of personal liberty, with r' espect to any act or canvicti.on
  which pzec~ded departure; and

        b. s"rail nog be stcbjeci to prosecu*ion oared on t~sti:nony pro~-~ded
  pursuant to thz request to the extent that s~~ch t~~s~imon~~ is required tc~
  honor the reouest and is true.

  2. Safe eunciuct pro~~ided in this article shall cease if, ten days alter the
  persan appearing has been notified that his or ~e* presence is no loner
  zequired, ghat person, beintr free to ~ea~e, has not Iefi the IZequestinQ Sate
  or, havinj left; has retunied.




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                                  ARTICLE J 8
                Seizzue, Immobilization and For#~eittire of Assets

  1. The Con~raciin~ Parties shall assist each other to the exte~i permitted
  by t heir r especti:'C— ~ c2Z3'g I i; t]]BSc:1ZUZC, i mma~ilization a ~~ forfeiture o i
  the fruits acrid instn:m~ntalaties of offenses.

  2. Pror~eds or property forfeited to a Contractirg Party pursuant #o tlis
  article shal_I be disposed of by that Party according to its domestic la~~
  and administrative proced~~res. Either State may transFer all ar pail: of
  such proceeds or property, or the proceeds of its sale; to the other State, to
  tl.e extent perr.~.itted by Eheia• zzspective ?zti~~s, upon such te~-:ns as they r.~ay
  a~~e.



                                 fIRTICLE 18 bis
                         Identifcation o£bank in£o.anatio:x

  i,     ~. Upon request of t3~e fZequestin~ Stain, tn~ R.eq~vested Sta e s~ial?,
  in accordance is~ith the Terms ~f this ~rt:cle; ~;rcmptIy as~~~ain if the
  banks located in its territory possess informatiL~ on ti~•hether an identified
  natural or legal person suspected of or charged tivith a criminal offense is
  the holder of a bank account or accounts. The Requested State shall
  promptly communicate the results of its enquiries to the Requesting SCate.

        b. The actions described in subparagraph (a) may also be taken foz
  the purpose of identifying:

                  ~. information regarding natural ar legal persons convicted
                     of oz o~~en~~ise invohred in a czi~it~a] ofze,:_se;

                  ii. infor~«~ion it the possession ai nor.-bank financial
                       nstyt~~tions: ar

                  iii.. financial transactions unrelated to accounts.

  2. In addition to the regniz~emenis of Article 3(1) of this Treaty, ~ request
  for information described in paragraph 1 shall include:

        a. the identity of the natural or legal person relevant to locating
  such accounts or transactions;


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        b. s~~ffcient info~-n~atioal to enable the competent authority of the
  Requested State to:

                   i. reas~nablti~ sus~Lct that fhe natural or legal person
                      concerned has engaged in a criminal offense and t~~a~
                      banks or nog=tiar,1~ financial institutions it the ierriiory
                      of the Requested Sate may have the iniorsraiior
                      request~~; and

                  ?z, conclude that the information sought xelates to the
                      criminal invesfigation or proceeding; and

          ~, t~ the extent possible, ir~forcnation concerning ~~~hich Link er
  nou-bank fin3r-cia', ir_stihat:on ma~~ be invoi~~ed, arac'; other nfonn~~o~ the
  <.~aiia'Duit oFi~°rich Zna 'aid ir. r~~iicin~ t:~:e: Lrea~i~3 of the enc~~tity.

  ~. [1n.les~ subsequently modified by exchzu-~~e of dip?o~nat~~ notes
                                                    States, requesis for assisian.ce
  ~Ct11+ec;;i T~£ F1L"OpB2T1 iT111QII Rt]~ tale ~.~Illte~
  n~der tY~is ~lrtici_e shall b~ transmitted betive~n:

          a. tine ~4irister of J~~stice of Itaiv, and

         b. foz the ~„nited States, in lieu of the channel described in Article
  2(1) of this Treaty, the attache responsible for Italy of the=~

                   i. U.S. Department of Justice, Drug Enforcement
                      Administration, with respect to matters within its
                      jurisdiction;

                   ii. t,.S. Depart~n.en~ oft~lomeiand Scei~rity, B«reau of
                       Immigration and Cur±rims Enforcer~ient, ti~-ith respect to
                       matters withzn its ju~~sdicfion;

                   iii. U.S. department of:;t.stice; ~ederai ~urc;au of
                        ?nt~esYibation, ~~-i#n respect to all ot'_ner hatters.




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  4. 1'he Confzhctin~ Pa~iies sha11 provide assistance under this article with
  respect ~o terrorist activity punishable under the laws of both the
  Requesting and Requested States. T'he Contracting Parties also shall
  provide assis~ance under phis Article :~~ith respect to money launderir_a
  acti~-ity punishable urger the ia~~•s of b in t:~e Reques~in~ and Re;nested
  Sta4es, including v,here the actiaity is punishable as money iaunder~ng
  under Uzazted States lati~~ ~ hile punishable as a predicate offense to the
  money Iaunc3ering u nder Italian ia~,-. The C ontracting ~ attics also shall
  pro~~ide assistance «~ith respect 20 such ether criminal activity as tl~e;r may
  notify each other.

  ~. 1'he Reques#ed S±ate shall respond to a ;efL~est for production ofthe
  retards concerning the accaun#s er transactiar~s :~entiFec~ pursu~:~c~t to ~nis
  ~.~ic?e in uccordanve ~;iih she ofi~erprc~.-ss;ons o±this Tz~,~ty.



                                ~,~?'T~~,E 1 S ier
                            Joint i~ves2igative teems

  1. 3oint in~esti~~~ive teams may be established and operates# in fhe
  aspect ve territories of the t."niter stztes and ckxe Italian Repzzb!ic iar the
  purpose of facilitating criminal investigations or prosecutions involving
  the united States and one or more bSember States of the European anion
  where deemed appropriate by the united Stags and the Italian Republic.

  2. The procedures under which the team is to operate, such as its
  composition, duration, location, organization, functions; purpose, and
  terms of participation of Team members of a State in investigative
  aciiv:ties taking pace ire anat~ier S?aie's terrikory~ shall be as aUreed
  beri~~een the competent auttzorities responsible .for she ir~~estigatzc~n or
  prosecut;.on of criminal offenses, as determined by f:~e respect ve Stales
  canccrred.

  3. The competent autt~orties ~etennined by tie respective Stytes
  concerned shall communicate directly for the puzposes of the
  establishment and operation of such seam exczpt that where the
  exceptional complexity, broad scope, or o#her circumstances involved are
  deemed to require more central coordi~iation as to some or all aspects, the
  States may agree upon other appropriate channels of communications to
  that end.




                                                                               F6
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  4. ~~'hire she joint investigative team needs investigative Treasures to be
  taken in one of the States setting up the team, a member of the team of
  that State may request its own competent authorities to take those
  r;ieasures ~~-ithout t?;e other States ha~~ing ~o siibrr~t a req~:est for mortal
  assista_rce. The required Iegai standarei for obtaining the :neasi~e in tlsat
  Slate shall 'oe the standard applicable to its darr~estic investigative
  activities.



                                 ARTiC;,E I8 qua2er
                                 ~~id~o conferencin~

  1, The uSe O~'v'l~t%0 t~u1:57113551031 tLC11P_OiO~~J SI1311 ~~ c2Vr31i£;~J~~ ~~tttiCCTi
  the United Sates a~d the 1.aiian FZ~;p:~blic for iakin~ t~stimon}- it a
  proceedir.Q for ~~%hich mutual assistance is ~vaii~ible of a ~~-fitness o~ expert
  located in ?he Req~iested State. To the extent not speci~cally sit forth in
  th?s Article, tt;e ixzodaliti~s goi~erning s~zc~ pr~cedare s~ail 6e as otheni~is.,
  proi-ideci under this Treaty.

  2. The ~~;questin~ and Request~;d Sta?es n:ay cor_sult i~ order to iacitiiate
  resolntior of Iegal; technical or 1_ajisticaE issues that *ray- prise in the
  execution ofthe request.

  3. Without prejudice to any jurisdiction. under the law of the Requesting
  State, making an inteniianally false statement ar other misconduct of the
  witness or expert during the course of the video conference shall be
  punishable in the Requested State in the'same m anner as if it had been
  committed in fhe co~::se of ifs domestic proceedings.

  4. 'This article is ~~,-ithout prejudice to tre «se of oche: means for
  obt<iiring of t~Lsti~;~~ny in she Requested State available under applicable
  ireaiy or lativ.

  ti. 'I'hv Re.~uested State r_~ay germ;t fhe tine of l-ideo canferer~~ir~b
  technology foz purposes ~iher than tease described in parabrapn J. of this
  Ariicle, including for purposes of identifica~ion of persons or objects, ar
  taking ofineesti~ative statements.




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                                 AR?'ICLE 19
                       Other Treaties aZd Dozncstic L~:sys

  ~. Assistance and procedures provided by t~i~ Treaty shalx not prevent ar
  restrici any assistance or procedure available under other internGtionai
  conti-entions oz ~.narigements or under the laws of the Cor~ractir_g Parties.

  2. Tie activzties of the International Crirrtinal Police Organization
 (I~TERPflLj are not effected by this Treaty.



                                 ~RTIC:L~ 2+J
                                 Denunciation

  Dither Contracting .Party -?gay tez-~:inat~ this Treat ~~ ant time b~- gi.-?n~?
  notice to the ather Pary ancz the termin~i~icn sha'1 be effective .~ rr.or~ths
  af'tUr ire da~e of receznt ar suci: notice.




                                                                              18
